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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JOSEPH ALESIA,                                   )
                                                 )    Case No. 19 cv 7576
                          Plaintiff,             )
v.                                               )    Hon. John Z. Lee
                                                 )
JAMIE RHEE, in her official capacity,            )    Magistrate Judge Sidney I. Schenkier
et al.,                                          )
                                                 )
                          Defendants.            )

                            DEFENDANTS’ UNOPPOSED MOTION
                           FOR EXTENSION OF TIME TO ANSWER

       Defendants City of Chicago, Jaime Rhee, William Lonergan, Phyllinis Easter and

Argentene Hrysikos, through their attorney, Celia Meza, Acting Corporation Counsel of the City

of Chicago, move for an extension of time through April 16, 2021 to file their Answer to the

Amended Complaint pursuant to Fed. R. Civ. P. 6(b)(1)(A). Plaintiff’s counsel has no objection

to this motion.

       1.         Plaintiff Joseph Alesia (“Alesia”) filed an Amended Complaint alleging claims

for retaliation under the Family and Medical Leave Act, as amended, 29 U.S.C. § 2601 et seq. and

indemnification under Illinois law. Amended Complaint, CM/ECF # 36 at ¶¶ 27, 30. On March 17,

2021, this Court denied Defendants’ Motion to Dismiss the Amended Complaint. Order, CM/ECF #

53. Pursuant to Rule 12(a)(4)(a), Defendants’ Answer to the Amended Complaint is due to be filed

on or before March 31, 2021.

       2.         For several reasons, Defendants’ counsel requires additional time to properly

prepare an Answer. Counsel is currently engaged in other matters with impending deadlines

including the preparation and filing a responsive pleading by March 26, 2021 in the case of

Paternakos v. City of Chicago, case no. 21 cv 0052; a reply brief to be filed by March 31, 2021
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in the case of Donald v. City of Chicago et al., case no. 20 cv 6815; taking and defending two

depositions on March 30 and 31, prior to the close of discovery, in the case of Harris v. City of

Chicago, case no. 19 cv 2229; and preparation of a responsive pleading by April 9, 2021 in the

case of Delaney v. Szewczyk, Cook County case no. 21 L 2115.

       3.      Co-counsel on this matter, Amy Brammel, resigned from the City’s Law

Department on December 4, 2020. In addition, due to City budget constraints, the Employment

Litigation Division of the City’s Law Department is currently understaffed and its attorneys are

operating under heavier-than-usual case loads.

       4.      Defendants request an additional 30 days, or through May 4, 2021 to file their

Answer to the Amended Complaint.

       For the foregoing reasons, Defendants City of Chicago, Jaime Rhee, William Lonergan,

Phyllinis Easter and Argentene Hrysikos respectfully request an extension of time through

through April 16, 2021 to file their Answer to the Amended Complaint and other relief the Court

deems appropriate.



Dated: March 25, 2021                         Respectfully submitted,

                                              CELIA MEZA
                                              Acting Corporation Counsel of the City of Chicago

                                              By: s/ Mark J. Bereyso
                                              MARK J. BEREYSO
                                              Chief Assistant Corporation Counsel

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